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                                                   U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007



                                                        April 19, 2016


By ECF

The Honorable Denise L. Cote
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

       Re:       United States v. Arthur Budovsky, 13 Cr. 368 (DLC)

Dear Judge Cote:

       Pursuant to the Court’s order, dated April 11, 2016, the parties have conferred and
request the following corrections to the transcript of the April 6, 2016 court conference:

              1. Page 4, line 23, “as” should be changed to “has”;

              2. Page 5, line 9, “to” should be changed to “by”;

              3. Page 6, line 24, the word “of” should be inserted between “plea” and “guilty”;

              4. Page 11, line 8, “was” should be changed to “were”;

              5. Page 11, line 10, “happens” should be changed to “happened”;

              6. Page 11, line 14, “was” should be changed to “were”;

              7. Page 11, line 21, “get” should be changed to “set”;

              8. Page 12, lines 2-3, the phrase “He was extradited on a money laundering
                 conspiracy that a 1956 count, 18 U.S.C. 1956 which carries . . .” should be revised
                 to read: “He was extradited on a money laundering conspiracy, a 1956 count, 18
                 U.S.C. 1956, which carries . . .”;

              9. Page 12, line 7, a comma should be inserted between “back” and “if”;

              10. Page 12, lines 9-10, the phrase “he’d plea to a Rule of Specialty which was”
                  should be changed to “he’d plea to an information with a”;

              11. Page 12, line 11, “legal” should be changed to “illegal”;
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          12. Page 12, line 12, the line should be changed to read: “counts. That would add up
              15. But these were preliminary”;

          13. Page 12, line 13, “interests” should be changed to “interest”;

          14. Page 12, line 19, “waive” should be changed to “waiver”;

          15. Page 12, line 22, “interests” should be changed to “interest”;

          16. Page 13, line 1, “interests” should be changed to “interest”;

          17. Page 13, line 2, the line should be changed to read: “resolving the case in that
              way. But no formal offer, just”;

          18. Page 13, line 4, “interests” should be changed to “interest”;

          19. Page 13, line 16, “lawyer” should be changed to “waiver”;

          20. Page 13, line 18, a comma should be inserted between “prepared” and “because”;

          21. Page 13, line 19, a comma should be inserted between “prepared” and “to”;

          22. Page 13, line 25, “writings” should be changed to “writing”;

          23. Page 15, line 12, “I” should be changed to “he”;

          24. Page 18, line 1, the second “had” should be stricken;

          25. Page 19, line 11, the second “that” should be stricken;

          26. Page 22, line 7, the word “he” should be stricken;

          27. Page 22, line 23, the word “what” should be stricken;

          28. Page 23, line 15, the word “there’s” should be changed to “that’s”;

          29. Page 23, line 16, the word “a” should be stricken;

          30. Page 24, line 4, the word “interest” should be changed to “interested”;

          31. Page 24, line 25, the second “that” should be changed to “it”;

          32. Page 25, line 9, the word “an” should be changed to “a”;

          33. Page 25, line 12, the word “if” should be changed to “about”;

          34. Page 26, line 2, the phrase “which is” should be stricken;

          35. Page 26, line 10, the word “in” should be changed to “and”;
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          36. Page 26, line 19, the word “the” should be inserted between “at” and “point”;

          37. Page 27, line 8, a comma should be inserted between “this” and “but”;

          38. Page 29, line 17, the word “offers” should be changed to “office”;

          39. Page 29, line 17, the word “expressed” should be changed to “expressly”;

          40. Page 29, line 20, the word “May” should be changed to “made”;

          41. Page 29, line 21, the second “of” should be stricken.

                                                    Respectfully Submitted,

                                                    PREET BHARARA
                                                    United States Attorney


                                              By:      /s/ Christian R. Everdell
                                                    CHRISTIAN R. EVERDELL
                                                    CHRISTINE I. MAGDO
                                                    KEVIN MOSLEY
                                                    Assistant United States Attorneys
